                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                AT GREENEVILLE


 UNITED STATES OF AMERICA                         )
                                                  )
 v.                                               )       No. 2:14-CR-048
                                                  )
 WILLIAM ISAAC JACKSON                            )


                            MEMORANDUM AND ORDER

               The defendant pled guilty to conspiring to distribute cocaine base, and to

 possessing a firearm in furtherance of that crime. He will be sentenced on January 15,

 2015. The United States Probation Office has prepared and disclosed a Presentence

 Investigation Report (“PSR”) which classifies the defendant as a career offender. The

 defendant objects to that classification. For the reasons that follow, the objection will be

 overruled.

               In deeming the defendant a career offender, the PSR concludes that the

 instant offense of conviction is a controlled substance offense and that the defendant has

 at least two prior felony convictions for either a crime of violence or a controlled

 substance offense. See U.S. Sentencing Guidelines Manual § 4B1.1(a) (2014). The

 sentencing guidelines define “crime of violence” for career offender purposes as

         any offense under federal or state law, punishable by imprisonment for a term
         exceeding one year, that –




Case 2:14-cr-00048-DCLC-DHI        Document 78        Filed 01/08/15   Page 1 of 5    PageID
                                        #: 362
               (1) has as an element the use, attempted use, or threatened use of
               physical force against the person of another, or


               (2) is burglary of a dwelling, arson, or extortion, involves use of
               explosives, or otherwise involves conduct that presents a serious
               potential risk of physical injury to another.


 U.S.S.G. § 4B1.2(a) (emphases added).

              The defendant does not argue that his present conviction is not a controlled

 substance offense (which it is) or that he does not have one predicate felony controlled

 substance conviction (which he does, see PSR ¶ 36). Instead, the defendant’s objection is

 that the PSR incorrectly counts his prior Florida robbery conviction (PSR ¶ 34) as his

 second career offender predicate.

              On August 24, 2007, the defendant was convicted in the Circuit Court of

 Broward County, Florida. The Circuit Court Disposition Order shows that the defendant

 pled guilty to the charge of “Robbery / No Weapon.” The defendant concedes that this

 conviction was punishable by a term of imprisonment exceeding one year [doc. 69, p.2]

 but argues that the conviction does not otherwise meet the guidelines’ definition of a

 “crime of violence.”

              Florida has two basic robbery statutes – “Robbery” (Fla. Stat. § 812.13) and

 “Robbery by Sudden Snatching” (Fla. Stat. § 812.131). Robbery by sudden snatching is

 robbery’s “less-serious counterpart.” See United States v. Lockley, 632 F.3d 1238, 1246

 n.7 (11th Cir. 2011). The Circuit Court Disposition Order does not indicate under which

 of these statutes the defendant was convicted. For that reason, the defendant argues that



                                             2

Case 2:14-cr-00048-DCLC-DHI          Document 78   Filed 01/08/15   Page 2 of 5      PageID
                                          #: 363
 the rule of lenity requires this court to presume that his “Robbery / No Weapon”

 conviction was for the lesser crime of robbery by sudden snatching. While the defendant

 is likely correct on that point, a conviction under either statute is a “crime of violence”

 and thus a career offender predicate.

               Under the Florida robbery statute (section 812.13), “‘Robbery’ means the

 taking of money or other property which may be the subject of larceny from the person or

 custody of another, with intent to either permanently or temporarily deprive the person or

 the owner of the money or other property, when in the course of the taking there is the

 use of force, violence, assault, or putting in fear.” Fla. Stat. § 812.13(1) (emphasis

 added). The carrying of a weapon is not an element of this crime but instead is the

 distinction between first and second degree. Id. § 812.13(2).

               A robbery conviction under section 812.13 constitutes a “crime of

 violence” under the career offender guideline. See United States v. Bequette, 567 F.

 App’x 450, 451 (6th Cir. 2014) (citing Lockley, 632 F.3d at 1240-45; United States v.

 Wilkerson, 286 F.3d 1324, 1325 (11th Cir. 2002)). Even if a person violates section

 812.13 by “merely” putting his victim in fear (as opposed to the use of force, violence, or

 assault), that crime satisfies both the “physical force” definition of guideline 4B1.2(a)(1)

 and the residual clause definition of guideline 4B1.2(a)(2). Lockley, 632 F.3d at 1244-45.

 Therefore, if the present defendant’s “Robbery / No Weapon” conviction is for violation

 of Florida Statute 812.13, that offense is a “crime of violence” and a career offender

 predicate.



                                              3

Case 2:14-cr-00048-DCLC-DHI        Document 78       Filed 01/08/15    Page 3 of 5    PageID
                                        #: 364
                 Turning to Florida Statute 812.131, the defendant fares no better.

        “Robbery by sudden snatching” means the taking of money or other
        property from the victim’s person, with intent to permanently or
        temporarily deprive the victim or the owner of the money or other property,
        when, in the course of the taking, the victim was or became aware of the
        taking. In order to satisfy this definition, it is not necessary to show that:

                 (a) The offender used any amount of force beyond that effort
                 necessary to obtain possession of the money or other property; or

                 (b) There was any resistance offered by the victim to the offender or
                 that there was injury to the victim’s person.

 Fla. Stat. § 812.131(1). As with the “Robbery” statute, the carrying of a weapon is not an

 element of this crime but instead is the distinction between second and third degree. Id. §

 812.131(2).

                 Florida courts have concluded that the use or threat of force or violence is

 also not an element of section 812.131. See A.M. v. State, 147 So. 3d 98, 100 (Fla. Dist.

 Ct. App. 2014); Thomas v. State, 983 So. 2d 746, 747 (Fla. Dist. Ct. App. 2008).

 Nonetheless, “[s]udden snatching ordinarily involves substantial risk of physical injury to

 the victim.” United States v. Welch, 683 F.3d 1304, 1313 (11th Cir. 2012). Robbery by

 sudden snatching, as defined by section 812.131, therefore satisfies the residual clause

 definition of a crime of violence under guideline 4B1.2(a)(2) (“otherwise involves

 conduct that presents a serious potential risk of physical injury to another”). Welch, 683

 F.3d at 1312.

                 For these reasons, it is of no import whether the present defendant’s

 “Robbery / No Weapon” conviction occurred under Florida Statute 812.13 or 812.131.

 Either way, the offense is a crime of violence and thus a career offender predicate. The

                                                4

Case 2:14-cr-00048-DCLC-DHI          Document 78      Filed 01/08/15    Page 4 of 5      PageID
                                          #: 365
 PSR in this case therefore correctly deems the defendant a career offender under the

 advisory federal sentencing guidelines.   The defendant’s objection is accordingly

 OVERRULED, although he remains free at sentencing to raise the variance argument

 contained in his sentencing memorandum.



             IT IS SO ORDERED.

                                                    ENTER:



                                                           s/ Leon Jordan
                                                     United States District Judge




                                           5

Case 2:14-cr-00048-DCLC-DHI     Document 78     Filed 01/08/15   Page 5 of 5    PageID
                                     #: 366
